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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 WILMER GARCIA RAMIREZ,                            )
 SULMA HERNANDEZ ALFARO,                           )
 ANA P., on behalf of themselves                   ) Case No. 1:18-cv-00508-RC
 and others similarly situated,                    )
                                                   )
                        Plaintiffs,                ) Class Action
                                                   )
                v.                                 )
                                                   )
 U.S. IMMIGRATION AND CUSTOMS                      )
 ENFORCEMENT (ICE);                                )
 THOMAS HOMAN, Acting Director of ICE;             )
 DEPARTMENT OF HOMELAND                            )
 SECURITY; KIRSTEN NIELSEN,                        )
 Secretary of Homeland Security,                   )
                                                   )
                        Defendants.                )


                        PLAINTIFFS’ RESPONSE CONCERNING
                      DELIBERATIVE PROCESS PRIVILEGE AND
                     STATUTORY CONFIDENTIALITY PROVISIONS


       Both of the excuses the government cited during the October 26, 2018 telephonic discovery

conference for withholding responsive A file and other documents—the deliberative process

privilege and statutory and regulatory confidentiality provisions relating to age out claims for

asylum, “T” and “U” visas, Violence Against Women Act (“VAWA”) visas, and other affirmative

relief—are refuted by settled authority. Both excuses should be rejected, both as to the specific

documents discussed at the conference, and, more generally, as to other A files and other

responsive documents.

I.     Under Settled Law, The Deliberative Process Privilege Does Not Apply.

       The law in this circuit is well settled that where, as here, the government’s decision-making

or intent is in dispute, the deliberative process privilege does not apply. As the D.C. Circuit held
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in In re Subpoena Duces Tecum Served on Office of the Comptroller of Currency, 145 F.3d 1422,

1424 (D.C. Cir. 1998), “[i]f the plaintiff’s cause of action is directed at the government’s

intent . . . it makes no sense to permit the government to use the privilege as a shield.” Thus, where

“a statute”—here, Section 1232(c)(2)(B)—“makes the nature of governmental officials’

deliberations the issue, the privilege is a nonsequitur” and “the privilege’s raison d’etre

evaporates.” Id. (emphasis in original); see also, Tri-State Hosp. Supply Corp. v. United States,

226 F.R.D. 118, 135 (D.D.C. 2005) (noting that “the privilege does not apply at all” where

government decision-making is in dispute).

       Indeed, even one of the cases the government relies on, D.A. v. Nielsen, No. 18-CV-09214,

2018 WL 3158819 (D.N.J. June 28, 2018), specifically rejected ICE’s claims that such Worksheets

are protected by the deliberative process privilege. Id. at 5. It did so on two grounds: first,

completing such Worksheets fell “on the unprivileged side of the distinction between

policymaking deliberations and formulaic decision making based on existing guidelines”; and,

second, even if that was not the case, Plaintiffs’ need for the information would trump ICE’s

generalized concerns about chilling frank discussions under the traditional balancing test for

determining when privilege is overcome by a showing of need. Id. at *5, *6. And, this was in a

circuit that, unlike the D.C. Circuit, did not have a per se rule that the privilege “does not apply at

all” where, as here, the government’s decision-making and deliberations are at issue.

       This settled law is controlling here and requires production of the “Parole Determination

Worksheet” (“Worksheet”) in dispute, for all the reasons the Court mentioned during last Friday’s

telephonic hearing. This is confirmed by the government’s Submission, which concedes that the

Worksheet was completed in response to a request by the age out’s counsel for “release to a family

friend,” and specifically addressed the age out’s “risk of flight” and “danger to community” —two




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of the three factors specifically referenced in, and directly bearing on the analysis required by,

Section 1232(c)(2)(B). Defs.’ Submission, at 2 (ECF No. 67).

         More generally, this example demonstrates why, under settled law, the deliberative process

privilege “makes no sense” and is a “non sequitur” that “does not apply at all” to any documents

that reflect or refer to the government’s decision-making with respect to Section 1232(c)(2)(B) or

any of the three factors (i.e., danger to self, danger to the community, and risk of flight) that

Section 1232(c)(2)(B) specifically references. Accordingly, Plaintiffs respectfully request that the

Court issue a decision and order so finding, to avoid the government’s withholding of such directly

relevant and non-privileged documents going forward.

         Equally misguided is the government’s assertion that it will not “submit a blank worksheet

form here, because the form is law-enforcement privileged.” Defs.’ Submission, at 3, n.3. Even

the case the government cites as support for this refusal, D.A., 2018 WL 3158819, at *7,

undermines its position.     There, the court found that the law enforcement privilege was

“inapposite” and did not apply, and ordered the worksheet produced, subject to an “attorney’s eyes

only” protective order. Id. at *7. Plaintiffs have proposed that the parties amend the existing

protective order here to likewise provide for “attorney’s eyes only” confidentiality in appropriate

cases.

II.      Production Of Documents Concerning Age Outs’ Applications For Asylum And
         Other Relief Is Not Barred By The Statutory And Regulatory Confidentiality
         Provisions Defendants Cite.

         The government’s argument that it can “withhold information pertaining to applications

for asylum,” “‘T’ and ‘U’ visas for human trafficking and crime victims,” and other affirmative

relief, is likewise refuted by directly-on-point law that the government fails to cite. Defs.’

Submission, at 5. In Rodriguez v. Robbins, CV-07-3239 TJH (RNBx), 2012 WL 12953870 (C.D.

Cal. May 3, 2012), the court rejected this exact same argument, holding that “[t]he asylum and


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VAWA, T & U confidentiality provisions do not foreclose court ordered discovery.” Id. at *2.

There, the plaintiff class challenged ICE’s detention of immigrants for more than six months

without a bond hearing, and sought information from class members’ A files in support of their

claims. ICE objected to producing any documents relating to applications for asylum, T and U

visas, or other affirmative relief, on the ground such discovery was barred by the confidentiality

provisions of 8 U.S.C. §1367 and 8 C.F.R. §208.6—the same provisions Defendants rely on here.

The court rejected this argument and ordered the documents produced. It found that courts have a

“duty to avoid a construction that would suppress otherwise competent evidence unless the statute,

strictly construed, requires such a result.” Rodriguez v. Robbins, 2012 WL 12953870, at *2

(quoting St. Regis Paper Co. v. United States, 368 U.S. 208, 218 (1961)). “Thus, statutory

provisions, generally forbidding disclosure of information, do not bar judicial discovery absent an

explicit prohibition against such disclosure.” Id. (citing St. Regis Paper Co., 368 U.S. at 218).

“The asylum and VAWA, T & U provisions”—8 U.S.C. § 1367 and 8 C.F.R. § 208.6—“do not

contain such an express limitation” and, therefore, do not foreclose discovery. Id. (citing relevant

statutory provisions).

       The court further found that disclosure of such documents to class counsel “facilitated,

rather than frustrated, the statutory purpose” of these provisions, which was to “protect the interest

of immigrants applying for legalization.” Id. (citing Zambrano v. I.N.S., 972 F.2d 1112, 1125-26

(9th Cir. 1992), overruled on other grounds in I.N.S. v. Zambrano, 509 U.S. 918 (1993)). In

particular, disclosure of such information “to class counsel . . . protects and benefits the same

group of people Congress intended to protect and benefit”—the immigrant class members who

alleged they were being illegally detained. Id. Thus, “Congress intended the confidentiality

provision[s] to prevent disclosure of an applicant’s information to the persons who victimized the




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applicant”; “[n]either provision was intended to shield the government from inquiry into its

mistreatment of applicant-immigrants.” Id. (citing Hawke v. United States Dep’t of Homeland

Sec., No. C-07-03456 (RMW), 2008 WL 4460241, at *7 (N.D. Cal. Sept. 29, 2008) (citation

omitted); Anim v. Mukasey, 535 F.3d 243, 253 (4th Cir. 2008)).

        Rodriguez is directly on point here.           The government’s “statutory and regulatory

confidentiality” objections to production of documents relating to age outs’ requests for asylum,

T and U visas, and other affirmative relief, based on the exact same “confidentiality provisions,”

should be rejected. Defendants concede, as they must, that such information “may be relevant to

a determination of flight risk,” Defs.’ Submission, at 6, which is one of the three factors specifically

referenced in Section 1232(c)(2)(B) and the reason ICE frequently cites in placing age outs in adult

detention. In fact, immigration courts routinely consider such requests for affirmative relief in

determining whether an age out is a flight risk, because someone who is pursuing such relief, which

will result in permanent legal status if granted, has a powerful incentive not to flee. See, e.g., Ex. A

(10/23/18 L. Knox Dep. Tr. at 25-26); see Matter of Siniauskas, 27 I&N Dec. 2017 (BIA 2018).

        Finally, any concerns with respect to confidentiality vis-à-vis those who are not parties to

the litigation, can be addressed by designating such documents as confidential pursuant to the

protective order entered in this matter. See, e.g., LVM v. Lloyd, No. 18-cv-1453 (PAC) (S.D.N.Y.

Apr. 5, 2018) [Docket No. 29] (information relating to applications for asylum and other

affirmative relief treated as “protected material” under protective order). Abdi v. Duke, No. 17-

cv-721 (EAW) (W.D.N.Y. Feb. 8, 2018) [Docket No. 82] (same); Gomez v. Sessions, No. 3:17-

cv-03615-VC (N.D. Cal. Sept. 18, 2017) [Docket No. 57] (same).

                                          CONCLUSION

        For all the foregoing reasons, Plaintiffs respectfully request that the Court enter a decision

finding that neither the deliberative process privilege nor 8 U.S.C. § 1367, 8 C.F.R. § 208.6, and


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the other confidentiality provisions the government cites excuse Defendants’ production of

responsive documents here, and ordering that Defendants promptly produce all responsive

documents previously withheld on those grounds.



 November 1, 2018                                 Respectfully Submitted,

                                                  /s/ Stephen R. Patton
                                                  Stephen R. Patton
                                                  Amanda A. Jacobowski
                                                  Jamie R. Netznik
                                                  KIRKLAND & ELLIS LLP
                                                  300 North LaSalle
                                                  Chicago, IL 60654
                                                  Tel.: (312) 862-2000
                                                  Fax: (312) 862-2200
                                                  stephen.patton@kirkland.com
                                                  amanda.jacobowski@kirkland.com
                                                  jamie.netznik@kirkland.com

                                                  Devin A. DeBacker (D.C. Bar No. 1010934)
                                                  Tia Trout-Perez (D.C. Bar No. 990447)
                                                  Rebecca W. Forrestal (D.C. Bar No. 241077)
                                                  KIRKLAND & ELLIS LLP
                                                  655 Fifteenth Street, NW
                                                  Washington, DC 20005
                                                  Tel.: (202) 879-5000
                                                  Fax: (202) 879-5200
                                                  devin.debacker@kirkland.com
                                                  ttrout-perez@kirkland.com
                                                  rebecca.forrestal@kirkland.com

                                                  Katherine Melloy Goettel
                                                  NATIONAL IMMIGRANT JUSTICE CENTER
                                                  208 South LaSalle Street, Suite 1300
                                                  Chicago, IL 60604
                                                  Tel: (312) 660-1335
                                                  Fax: (312) 660-1505
                                                  kgoettel@heartlandalliance.org




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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on this 1st day of November, 2018, a true and correct copy

of the foregoing was served via ECF upon counsel of record.



                                                   /s/ Stephen R. Patton
                                                   Stephen R. Patton




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